                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 BILLY FLOYD LEASURE,                               )
                                                    )
               Petitioner,                          )
                                                    )
 v.                                                 )        Nos: 3:06-cr-154
                                                    )             3:11-cv-009
                                                    )             JUDGE JORDAN
 UNITED STATES OF AMERICA,                          )
                                                    )
               Respondent.                          )


                                    JUDGMENT ORDER

        In accordance with the accompanying Memorandum, petitioner's motion to raise an

 additional claim is DENIED, the motion to vacate, set aside or correct sentence pursuant to

 28 U.S.C. § 2255 is DENIED, and this action is DISMISSED. Should the petitioner give

 timely notice of an appeal from this decision, such notice will be treated as an application for

 a certificate of appealability, which under the circumstances is DENIED. The Court

 CERTIFIES that any appeal from this action would not be taken in good faith and would

 be totally frivolous. Therefore, this Court hereby DENIES the petitioner leave to proceed

 in forma pauperis on appeal.

        ENTER:
                                                             s/ Leon Jordan
                                                        United States District Judge

 ENTERED AS A JUDGMENT
    s/ Debra C. Poplin
    CLERK OF COURT



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